274 F.2d 688
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.STEEL, METALS, ALLOYS AND HARDWARE FABRICATORS AND WAREHOUSEMEN, LOCAL 810, International Brotherhood of Teamsters, Chauffeurs, Warehousemen and Helpers of America, Respondent.
    No. 167.
    Docket 25808.
    United States Court of Appeals Second Circuit.
    Argued January 15, 1960.
    Decided January 29, 1960.
    
      William J. Avrutis, Atty., N. L. R. B., Washington, D. C. (Stuart Rothman, Gen. Counsel, Thomas J. McDermott, Assoc. Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen. Counsel, Fannie M. Boyls, Atty., N. L. R. B., Washington, D. C., on the brief), for petitioner.
      Henry Brickman, New York City, for respondent.
      Before CLARK, HINCKS and WATERMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      On this petition, the sole issue is one of fact depending upon the credibility of conflicting testimony. The Trial Examiner accepted the testimony of Vignari, the office boy of the complaining company. He rejected the testimony of Robinson, the respondent's field organizer. The resolution of credibility was for the Trial Examiner who saw the witnesses under cross-examination. Universal Camera Corp. v. National Labor Relations Board, 340 U.S. 474, 71 S.Ct. 456, 95 L.Ed. 456. The testimony relied upon was not "hopelessly incredible," nor in flat contradiction of "a so-called `law of nature' or undisputed documentary testimony." National Labor Relations Board v. Dinion Coil Co., 2 Cir., 201 F.2d 484, 490; National Labor Relations Board v. James Thompson &amp; Co., 2 Cir., 208 F.2d 743.
    
    
      2
      Enforcement granted.
    
    